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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

                                              §
 ROBERT K. HUDNALL,
                                              §
                                              §
      Plaintiff,
                                              §
                                              §
 v.                                                 CAUSE NO. EP-22-CV-36-KC
                                              §
                                              §
 STATE OF TEXAS; CITY OF EL
                                              §
 PASO, TEXAS; JUDGE SERGIO
                                              §
 ENRIQUEZ; ALEJANDRO C.
                                              §
 RAMIREZ; TYRONE SMITH d/b/a
                                              §
 SMITH AND RAMIREZ
                                              §
 RESTORATION LLC; GUY BLUFF;
                                              §
 THE AMERICAN ARBITRATION
                                              §
 ASSOCIATION; and EVANSTON
                                              §
 INSURANCE COMPANY,
                                              §
                                              §
      Defendants.

                   ORDER ADOPTING REPORT AND RECOMMENDATION
                            OF THE MAGISTRATE JUDGE

         On this day, the Court considered the above-captioned case. On March 1, 2022, the

Court referred this case to United States Magistrate Judge Robert F. Castaneda pursuant to 28

U.S.C. § 636(b) to hear all pre-trial matters. Order, ECF No. 19. On August 9, 2022, the

Magistrate Judge filed an omnibus Report and Recommendation (“R&R”), ECF No. 46,

assessing seven pending motions and drawing the following conclusions: (1) Defendant State of

Texas’s Motion to Dismiss, ECF No. 6, should be granted; (2) Defendant Judge Sergio

Enriquez’s Motion for Judgment on the Pleadings, ECF No. 7, should be granted; (3) Defendants

American Arbitration Association and Guy Bluff’s Motion to Dismiss, ECF No. 10, should be

granted; (4) Defendant Evanston Insurance Company’s Motion to Dismiss, ECF No. 8, should be

granted; (5) Plaintiff’s Motion for Judgment on the Pleadings, ECF No. 16, should be denied; (6)

Plaintiff’s Motion for Declaratory Judgment, ECF No. 18, should be denied; and (7) Plaintiff’s
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Second Motion for Declaratory Judgment, ECF No. 26, should be denied. Id. at 25–26.

        Parties have fourteen days from service of a Report and Recommendation of a United

States Magistrate Judge to file written objections. See 28 U.S.C. § 636(b)(1)(C).1 Over fourteen

days have elapsed since all parties were served with the R&R, and no objections have been filed.

See Certified Mail Receipt, ECF No. 48.

        When parties do not file written objections, courts apply a “clearly erroneous, abuse of

discretion and contrary to law” standard of review to a report and recommendation. United

States v. Wilson, 864 F.2d 1219, 1221 (5th Cir. 1989) (“[T]he ‘clearly erroneous, abuse of

discretion and contrary to law’ standard of review . . . is appropriate . . . where there has been no

objection to the magistrate’s ruling.”); Rodriguez v. Bowen, 857 F.2d 275, 276–77 (5th Cir.

1988) (“[A] party is not entitled to de novo review of a magistrate’s finding and

recommendations if objections are not raised in writing by the aggrieved party . . . after being

served with a copy of the magistrate’s report.”). After reviewing the R&R, the Court agrees with

the Magistrate Judge’s proposed findings of fact and conclusions of law and finds that they are

neither clearly erroneous nor contrary to law. See Wilson, 864 F.2d at 1221.

        Accordingly, the Court ADOPTS the R&R, ECF No. 46, in its entirety, and ORDERS

that (1) Defendant State of Texas’s Motion to Dismiss, ECF No. 6, is GRANTED; (2)

Defendant Judge Sergio Enriquez’s Motion for Judgment on the Pleadings, ECF No. 7, is

GRANTED; (3) Defendants American Arbitration Association and Guy Bluff’s Motion to

Dismiss, ECF No. 10, is GRANTED; (4) Defendant Evanston Insurance Company’s Motion to

Dismiss, ECF No. 8, is GRANTED; (5) Plaintiff’s Motion for Judgment on the Pleadings, ECF


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  Federal district courts conduct de novo review of those portions of a report and recommendation to which a party
has objected. See 28 U.S.C. § 636(b)(1)(C) (“A judge . . . shall make a de novo determination of those portions of
the report . . . to which objection is made . . . .”).
                                                         2
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No. 16, is DENIED; (6) Plaintiff’s Motion for Declaratory Judgment, ECF No. 18, is DENIED;

and (7) Plaintiff’s Second Motion for Declaratory Judgment, ECF No. 26, is DENIED. Id. at

25–26.

         SO ORDERED.

         SIGNED this 30th day of August, 2022.




                                   KATHLEEN CARDONE
                                   UNITED STATES DISTRICT JUDGE




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